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                    1   MICHAEL L. HINCKLEY (CSBN 161645)
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                    4   Fax: 415-865-2538
                    5   Attorney for Defendant
                        DAVID DOMINGUEZ
                    6
                    7                                           UNITED STATES DISTRICT COURT
                    8                                       NORTHERN DISTRICT OF CALIFORNIA
                    9                                                 SAN FRANCISCO DIVISION
                   10
                        UNITED STATES OF AMERICA,                                         Case No. CR 05 00117 PJH (JCS)
                   11
                                            Plaintiff,
                   12
                              v.                                                          STIPULATION AND [PROPOSED]
                   13                                                                     ORDER RE: RELEASE AND RECONVEY
                                                                                          THE 1211 MARBLE STREET
                   14                                                                     RESIDENCE
                        DAVID DOMINGUEZ, et. al
                   15
                                            Defendants.
                   16
                                                                                /
                   17
                   18              Defendant DAVID DOMINGUEZ, by and through his counsel Michael L. Hinckley, and
                   19   the United States of America, through Assistant United States Attorney David Hall, hereby
                   20   stipulate and agree to a modification of the aforementioned defendants’ pretrial release
                   21   conditions. Specifically, the parties stipulated that the property located at 1211 Marble Street,
                   22   Santa Rosa, California 95407, which is one of the three properties posted in this case, may be
                   23   released and reconveyed to its owners Margarita Garcia and Guadalupe Garcia. This
                   24   reconveyance is need to enable them to proceed with refinancing. All other terms and conditions
                   25   are to remain the same.
                   26   ///
                   27   ///
                   28
                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
     Law Offices        Stip. & [Proposed] Order Re: Modify Release Condition
Stiglich & Hinckley                                                                 -1-
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                    1             Pretrial Services Officer Timothy Elder has no objection to this request.
                    2
                    3             IT IS SO STIPULATED.
                    4
                    5   Dated: 1/20/2006                                                       /S/
                                                                                MICHAEL L. HINCKLEY
                    6                                                           Attorney for Defendant
                                                                                DAVID DOMINGUEZ
                    7
                    8
                        Dated: 1/20/2006                         .                              /S/
                    9                                                           DAVID HALL
                                                                                Assistant United States Attorney
                   10
                   11
                                                                                ORDER
                   12
                   13             Pursuant to stipulation, the aforementioned defendant’s pretrial release conditions are
                   14   modified such that the property located at 1211 Marble Street, Santa Rosa, California 95407,
                   15   which is one of the three properties posted in this case, shall be released and reconveyed to its
                   16   onwers Margarita Garcia and Guadalupe Garcia. All other terms and conditions are to remain the
                   17   same.
                   18
                                  IT IS SO ORDERED.
                   19
                   20
                        Dated:       January 23, 2006                .
                   21                                                           HON. JOSEPH C. SPERO
                                                                                United States Magistrate Judge
                   22
                   23
                   24
                   25
                   26
                   27
                   28
                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
     Law Offices        Stip. & [Proposed] Order Re: Modify Release Condition
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                    1
                    2
                                                           PROOF OF SERVICE
                    3
                    4         I, the undersigned say:
                    5         I am over eighteen years of age and not a party to the above action. My business address
                    6   is 1306 Pine Street, Walnut Creek, California 94596.
                    7         I personally caused to be served a copy of the attached on the following:
                    8
                    9                         Tim Elder
                                              United States Pretrial Services Officer
                   10                         450 Golden Gate Avenue, Box 36108
                                              San Francisco, CA 94102
                   11
                   12
                              I declare under penalty of perjury that the foregoing is true and correct. Executed on
                   13
                        1/20/06                          , at Walnut Creek, California.
                   14
                   15   Dated: 1/20/2006                                           /S/
                                                                    MICHAEL L. HINCKLEY
                   16                                               Attorney for Defendant
                                                                    DAVID DOMINGUEZ
                   17
                   18
                   19
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                   21
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     Law Offices
Stiglich & Hinckley
